           Case 3:20-cv-00893-RS Document 29 Filed 06/10/20 Page 1 of 4




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 9   Attorneys for Plaintiff Miyoko’s Kitchen
10                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
     MIYOKO’S KITCHEN,
13
             Plaintiff,
14   v.                                                       Case No. 3:20-cv-00893-RS
15                                                            STIPULATION AND ORDER
                                                              SETTING BRIEFING
16   KAREN ROSS, in her official capacity                     SCHEDULE ON PLAINTIFF’S
     as Secretary of the California                           MOTION FOR PRELIMINARY
17   Department of Food and Agriculture,                      INJUNCTION
     and STEPHEN BEAM, in his official
18   capacity as Branch Chief of the Milk                     The Honorable Richard Seeborg
     and Dairy Food Safety Branch,
19                                                            Trial Date:   Not Set
             Defendants.                                      Action Filed: February 6, 2020
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                 Order Granting Plaintiff’s Motion for Preliminary Injunction (Case No. 3:20-cv-893-RS)
          Case 3:20-cv-00893-RS Document 29 Filed 06/10/20 Page 2 of 4




 1
                                                        STIPULATION
 2
           WHEREAS, Defendants filed their motion to dismiss (ECF 17) on April 23, 2020, and this
 3
     Court granted (ECF 21) the parties’ stipulated briefing schedule on that motion on April 30, 2020,
 4
           WHEREAS, Plaintiff filed its motion for a preliminary injunction (ECF 24) on May 26, 2020.
 5
           WHEREAS, Defendants’ lead counsel, Michael Dorsi, has another matter that will occupy
 6
     much of his time during the month of June, and Defendants therefore request that their opposition
 7
     to the preliminary-injunction motion be due on July 16,
 8
           WHEREAS, Plaintiff’s motion argues that Plaintiff faces an ongoing threat of enforcement
 9
     from the State of California for engaging in truthful speech and that Plaintiff is suffering and will
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     suffer irreparable harm as a result,
11
           WHEREAS, to facilitate an orderly briefing schedule and afford this Court adequate time to
12
     decide Plaintiff’s motion, Plaintiff is willing to agree to the requested extension on the condition
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     that Defendants refrain from taking enforcement action against Plaintiff while the motion for
14
     preliminary injunction is pending and Defendants have agreed to this condition,
15
           THE PARTIES STIPULATE TO AND JOINTLY REQUEST THE COURT ORDER
16
     the following schedule for briefing the plaintiffs’ motion for a preliminary injunction:
17
           Defendants’ Opposition Due:                           July 16, 2020
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           Plaintiffs’ Reply Due:                                July 30, 2020
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           Hearing Date:                                         August 13, 2020
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        Stipulation and Order Setting Briefing Schedule on Plaintiff’s Motion for Preliminary Injunction (Case No. 3:20-cv-893-RS)
          Case 3:20-cv-00893-RS Document 29 Filed 06/10/20 Page 3 of 4




 1
     Dated: June 10, 2020                                             GUPTA WESSLER PLLC
 2                                                                    /s/ Deepak Gupta
                                                                      Deepak Gupta
 3                                                                    Attorney for Plaintiff
 4
     Dated: June 10, 2020                                             XAVIER BECERRA
 5                                                                    Attorney General of California
                                                                      MYUNG J. PARK
 6                                                                    Supervising Deputy Attorney General
 7                                                                    /s/ Michael S. Dorsi
                                                                      MICHAEL S. DORSI
 8                                                                    Deputy Attorney General
                                                                      Attorneys for Defendants
 9

10         As the attorney e-filing this document, Deepak Gupta attests that Michael S. Dorsi concurred

11   in the filing of this document. /s/ Deepak Gupta

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        Stipulation and Order Setting Briefing Schedule on Plaintiff’s Motion for Preliminary Injunction (Case No. 3:20-cv-893-RS)
          Case 3:20-cv-00893-RS Document 29 Filed 06/10/20 Page 4 of 4




 1
                                                                  ORDER
 2
           Plaintiff Miyoko’s Kitchen and Defendants Karen Ross, in her official capacity as Secretary
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     of the California Department of Food and Agriculture, and Stephen Beam, in his official capacity
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     as Branch Chief of the Milk and Dairy Food Safety Branch, stipulated to a briefing schedule for
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     Plaintiff’s Motion for Preliminary Injunction (ECF No. 24) in light of Defendants’ agreement to
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     refrain from enforcement while the motion is pending. The parties attest that they prefer this
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     schedule and that the schedule preserves the two-week period between the deadline for the reply
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     brief and the hearing date. Accordingly, the Court finds good cause and adopts the proposed
 9
     schedule for briefing on Plaintiff’s Motion for Preliminary Injunction under Northern District of
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     California Local Rule 6-1(b):
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           Plaintiff’s Response Due:              July 16, 2020
12
           Defendants’ Reply Due:                 July 30, 2020
13
           Hearing Date:                          August 13, 2020
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     IT IS SO ORDERED
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16
                  10 2020
     Dated: June ___,
17                                                                      ____________________________
                                                                        HON. RICHARD SEEBORG
18                                                                      UNITED STATES DISTRICT JUDGE
                                                                        NORTHERN DISTRICT OF CALIFORNIA
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        Stipulation and Order Setting Briefing Schedule on Plaintiff’s Motion for Preliminary Injunction (Case No. 3:20-cv-893-RS)
